The issue here considered is whether a building containing many single rooms and used as a dormitory for the Roseblum School at Milford at the time zoning regulations were adopted can now be altered and made into a six-family house.
The regulations provide "no non-conforming use shall be extended so as to diminish the extent of a conforming use" *Page 28 
The construction and use of a six-family house would, in my opinion, materially extend the non-conforming and diminish the extent of a conforming use.
The regulations provide "the cost of structural alterations made in such building shall in no case exceed fifty per cent of its assessed value". Although the owner testified his plans and specifications could be carried out within that limit, I find the fact to be quite to the contrary.
There is no indication that the Board of Zoning Appeals acted arbitrarily, illegally or unreasonably.
   The appeal is dismissed.